Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 1 of 7 Page ID #:1



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11 Attorneys for Plaintiffs,
   Miriam and Mario Magana
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13
                          UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15
16
     Miriam and Mario Magana,             Case No.:
17
18                    Plaintiffs,         COMPLAINT FOR DAMAGES
19        vs.                             FOR VIOLATIONS OF:
20                                         1. THE FAIR DEBT COLLECTION
     Midland Credit Management, Inc.,      PRACTICES ACT; AND
21
                                           2. THE ROSENTHAL FAIR DEBT
22                    Defendant.           COLLECTION PRACTICES ACT
23
                                          JURY TRIAL DEMANDED
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26
27
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Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 2 of 7 Page ID #:2



 1         Plaintiffs, Miriam and Mario Magana (hereafter “Plaintiffs”), by undersigned
 2
     counsel, bring the following complaint against Midland Credit Management, Inc.
 3
 4 (hereafter “Defendant”) and alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13
     Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
           3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiffs’ action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiffs are adult individuals residing in Baldwin Park, California, and
21
     each is a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Each Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is

24 a “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in San Diego, California, and is a
26
27 “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


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                                                              COMPLAINT FOR DAMAGES
Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 3 of 7 Page ID #:3



 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                  ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           9.     Each Plaintiff is a natural person allegedly obligated to pay a debt
13
14 asserted to be owed to a creditor other than Defendant.
15
           10.    The alleged obligation arises from a transaction in which property,
16
17 services or money was acquired on credit primarily for personal, family or household
18 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
19
     defined by Cal. Civ. Code § 1788.2(f).
20
21         11.    At all times mentioned herein where Defendant communicated with any
22 person via telephone, such communication was done via Defendant’s agent,
23
   representative or employee.
24
25         12.    On or about March 15, 2021, Defendant called Mario in an attempt to
26
     collect the Debt allegedly owed by Miriam.
27
28


                                                 3
                                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 4 of 7 Page ID #:4



 1         13.    Defendant falsely threatened to garnish Mario’s wages if the Debt was
 2
     not paid immediately.
 3
 4         14.    Defendant has neither sued Plaintiffs nor obtained a judgment against
 5 Plaintiffs; therefore, Defendant had no ability or legal authority to garnish Mario’s
 6
   wages when it threatened to do so.
 7
 8         15.    Defendant’s conduct caused Plaintiffs a significant amount of stress,
 9
     confusion, and anxiety.
10
11
                                            COUNT I
12
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
13
                           U.S.C. § 1692, et seq.
14
           16.    Plaintiffs incorporate by reference all of the above paragraphs of this
15
16 complaint as though fully stated herein.
17
           17.    The FDCPA was passed in order to protect consumers from the use of
18
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
19
20 practices.
21
           18.    Defendant attempted to collect a debt from Plaintiffs and engaged in
22
23 “communications” as defined by 15 U.S.C. § 1692a(2).
24         19.    Defendant engaged in conduct, the natural consequence of which was to
25
     harass, oppress, or abuse Plaintiffs, in connection with the collection of a debt, in
26
27 violation of 15 U.S.C. § 1692d.
28


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                                                              COMPLAINT FOR DAMAGES
Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 5 of 7 Page ID #:5



 1         20.    Defendant used false, deceptive, or misleading representations or means
 2
     in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.
 3
 4         21.    Defendant misrepresented the character, amount or legal status of the
 5 alleged debt, in violation of 15 U.S.C. § 1692e(2)(A).
 6
         22. Defendant, without intending to take such action, represented and/or
 7
 8 implied that nonpayment of the alleged debt would result in garnishment of Plaintiff
 9
     Mario’s wages, in violation of 15 U.S.C. § 1692e(4).
10
11         23.    Defendant threatened to take action that could not be legally taken or that

12 Defendant did not intend to take, in violation of 15 U.S.C. § 1692e(5).
13
          24. Defendant used unfair and unconscionable means to collect a debt, in
14
15 violation of 15 U.S.C. § 1692f.
16         25.    The foregoing acts and/or omissions of Defendant constitute numerous
17
     and multiple violations of the FDCPA, including every one of the above-cited
18
19 provisions.
20
           26.    Plaintiffs have been harmed and are entitled to damages as a result of
21
     Defendant’s violations.
22
23
                                           COUNT II
24
25         VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
                  PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
26
27         27.    Plaintiffs incorporate by reference all of the above paragraphs of this
28 complaint as though fully stated herein.


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                                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 6 of 7 Page ID #:6



 1         28.    The Rosenthal Act was passed to prohibit debt collectors from engaging
 2
     in unfair and deceptive acts and practices in the collection of consumer debts.
 3
 4         29.    Defendant threatened to garish Plaintiff Mario’s wages if the alleged
 5 consumer debt was not paid, when it had no intent or lawful means to do so, in
 6
   violation of Cal. Civ. Code § 1788.10(e).
 7
 8         30.    Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
 9
     seq., in violation of Cal. Civ. Code § 1788.17.
10
11         31.    Plaintiffs were harmed and are entitled to damages as a result of

12 Defendant’s violations.
13
14                                  PRAYER FOR RELIEF
15         WHEREFORE, Plaintiffs pray for judgment against Defendant for:
16
                  A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
17
18                B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
19                C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
20
                  D. Statutory damages of $1,000.00 for knowingly and willfully committing
21
22                   violations pursuant to Cal. Civ. Code § 1788.30(b);
23
                  E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
24
25                   § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);

26                F. Punitive damages; and
27
                  G. Such other and further relief as may be just and proper.
28


                                                 6
                                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-06076-ODW-KS Document 1 Filed 07/28/21 Page 7 of 7 Page ID #:7



 1               TRIAL BY JURY DEMANDED ON ALL COUNTS
 2
 3
 4 DATED: July 28, 2021                   TRINETTE G. KENT
 5
                                         By: /s/ Trinette G. Kent
 6                                       Trinette G. Kent, Esq.
 7                                       Lemberg Law, LLC
                                         Attorney for Plaintiffs,
 8                                       Miriam and Mario Magana
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                                                     COMPLAINT FOR DAMAGES
